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                  Exhibit 5
                   Civil Action No. 25-cv-0952 (CKK)
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                     Plaintiffs,
                                                   Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE       OFFICE             OF     THE
PRESIDENT, et al.,

                      Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                     Plaintiffs,
                                                   Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                 Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                     Plaintiffs,
                                                   Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                 Defendants.


        DECLARATION OF LILLIE SNYDER BOSS IN SUPPORT OF
 DEMOCRATIC PARTY PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


      I, Lillie Snyder Boss, declare as follows:
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         1.    I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

         2.    I am the Chief Operating Officer of DSCC. I have served in this role since March

2021.

         3.    DSCC, also known as the Democratic Senatorial Campaign Committee, is the

Democratic Party’s national senatorial committee. Its mission is to elect candidates of the

Democratic Party across the country to the U.S. Senate. In support of this mission, DSCC seeks to

register new voters as Democratic Party members and constituents; to preserve the lawful

registration status of Democratic Party members and other Democratic Party supporters; to

encourage and assist Democratic Party members and constituents in casting ballots and having

those ballots count; to protect registered Democratic Party members and constituents from

unlawful retaliation or intimidation; and to preserve the legal rights of our voters.

         4.    In my role, I oversee DSCC’s day-to-day operations. This includes managing the

Committee’s staff and processes, budget, operations, and initiatives, as well as engaging with all

of DSCC’s activities as needed. I interact with DSCC’s officers and employees at all levels. I also

help campaigns from time to time on their compliance and budget needs.

         5.    DSCC is actively planning, preparing, budgeting, and strategizing for the 2026

midterm elections. In 2026, DSCC is supporting ten incumbent Democratic Senators and non-

incumbent Democratic candidates in up to an additional twelve states.

         6.    In preparation for these elections, DSCC is heavily focused on encouraging

Democratic voters to vote, including by mail, and making sure they have the knowledge and

resources to do so effectively. Particularly since the pandemic, DSCC has expended significant

resources to encourage voters to vote by mail, because that method is often the most convenient




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or accessible way for voters to participate. In fact, many Democratic Senators themselves have

voted by mail in past elections and are likely to do so again in future elections, especially in light

of their busy travel schedules.

        7.       In recent years, DSCC has developed a comprehensive education, assistance, and

ballot-cure program to ensure Democratic voters are able to cast mail ballots and have them

counted. Each cycle, the DSCC invests millions of dollars in these programs. In cure programs,

DSCC, in coordination with state Democratic parties and Democratic candidates, identify qualified

voters whose mail ballots are slated for rejection due to a non-substantive defect, such as a missing

signature on a ballot envelope, and work with those voters to correct the errors and return their

ballots in time to be counted. These programs were built with the understanding that voters’ ballots

will be counted if they are returned by the Postal Service to the proper state election official or

office by their state’s deadline, which, in many states, extends past election day.

        8.       President Trump’s imposition of a national election day ballot receipt deadline will

directly disenfranchise DSCC’s constituents—including members of the military, their families,

and countless others who rely on voting by mail—by requiring states to reject ballots not received

by election day, even where state law provides a longer period for receipt. This impact will fall

particularly hard on Democratic voters in states where elections are conducted primarily by mail,

such as California, Nevada, Oregon, Utah, and Washington—all of which have mail ballot receipt

deadlines past election day. The same is true in New York, which recently expanded mail voting

to all voters.

        9.       An election day ballot receipt deadline will be particularly disruptive to DSCC in

the 2026 election cycle. There are ten states with a Senate election in 2026 that currently accept

mail ballots after election day. A national election day receipt deadline is sure to cause confusion




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among voters as to which deadline applies – election day, per the President’s Executive Order, or

state law. Voters may follow their own state’s law only to be disenfranchised because of the

President’s Order. DSCC further fears that the requirement could call into question state laws that

permit voters to “cure” timely mail ballots with minor technical errors in the days after election

day, undermining DSCC’s planned post-election ballot cure program.

        10.     Voters often get accustomed to voting a certain way by a certain deadline, and in

fact, DSCC encourages developing voting habits so that voting becomes routine for its

constituents. Because it is difficult to change voters’ habits, and because of mail delays that are

often outside of the voters’ control, DSCC expects that, despite its best efforts, the new mail ballot

receipt deadline will inevitably lead to voter disenfranchisement and cause Democratic Senate

candidates to lose votes because timely-cast ballots of lawful, qualified voters will arrive after the

deadline. Other voters may not vote at all, even if they have a ballot in hand, if they believe that

the ballot is not likely to arrive before the deadline.

        11.     In an effort to thwart the harmful effects of President Trump’s Order and to ensure

voters are not disenfranchised in the upcoming elections, DSCC will be forced to redirect its

limited resources toward new mail voting and ballot cure programs. For example, DSCC will have

to replace its existing mail-voter assistance and outreach program with one aimed at ensuring

voters return their ballots by election day. The Postal Service and state officials typically advise

voters to build in seven days or more for a ballot to be delivered, and even that window is often

not sufficient. The Postal Service also recently announced a plan to cut 10,000 jobs, reduce work

hours, and close facilities, all of which will slow down mail service.

        12.     Given the likelihood of mail delays, DSCC will need to develop new and expanded

voter education programs, including but not limited to social media campaigns and direct outreach




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aimed at encouraging voters to return their ballots far sooner than they have in the past, and without

the benefit of a clear election day deadline for placing their ballots in the mail. And in states that

have previously counted ballots that arrive after election day, the change also means that mail

voters have less time to cast ballots, and DSCC consequently has less time to persuade them to

vote for Democratic candidates and mobilize them to submit their votes. DSCC will be further

forced to stand up additional voter education and engagement programming to encourage voters

to use other methods of voting, including creating a voting plan to vote in person at the polls, to

minimize the risk of disenfranchisement.

        13.     This change is significant. Because voting by mail is more convenient for many of

our members and constituents, it is often more time-consuming and expensive to mobilize voters

to vote in person. For example, in certain states, voting by mail has historically been far less

burdensome than voting in person. In Ohio, mail voters may satisfy the state’s identification

requirements with the last four digits of their social security number. But when voting in person,

voters need to provide a photo ID, and a student ID does not qualify. Last cycle, DSCC therefore

encouraged out-of-state students to vote by mail, and DSCC planned to do so again in 2026. But

we will now need to develop a plan to ensure such students can vote in person if they are unable

to get their ballots returned by election day. This will require significantly more resources than

encouraging students to vote by mail. In addition, in states where many voters vote by mail, there

are fewer polling locations. This means that if more voters are required to vote in person due to

the risk that their mail ballot will not arrive by election day, they may end up waiting in long lines,

if they are able to access a polling location at all.

        14.     DSCC will also be forced to prepare to implement an entirely new ballot cure

program to account for the risk that election officials will refuse to allow timely ballots to be cured




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past election day. DSCC’s resources are extremely limited in the weeks leading up to election day,

as we are prioritizing turning out as many voters as possible and persuading any last minute,

undecided voters. If ballots must be cured by election day, DSCC will necessarily have to divert

resources away from getting out the vote and persuading voters when that work is most critical.

       15.     These programs, which will need to be implemented in up to ten states with a U.S.

Senate election in 2026, come at a significant cost. Because DSCC has not budgeted for these new,

widespread programs, we will have to scale back or cut the initiatives we currently have planned

for persuading and mobilizing our members and constituents to elect Democratic candidates to the

Senate. For example, a large portion of DSCC’s budget for the 2026 election cycle is allocated for

getting out the vote in the months and weeks leading up to election day. This will require

significant expenditures on volunteer recruitment and training, peer-to-peer texting, and

canvassing. But if we will instead need to now spend money to educate voters in many states on

an earlier mail ballot deadline or to assist voters in curing issues with their mail ballots prior to

election day, we will necessarily have to scale back these get-out-the-vote activities.

       16.     DSCC is also working to ensure that all eligible Democratic voters and voters who

are likely to support Democratic candidates are registered to vote, and that their registrations are

current. DSCC has long invested in a nationwide voter registration program to encourage our

members and constituents in states across the country to register to vote in the most accessible

way, and we provide tools to help them do so. DSCC routinely sends targeted emails and text

messages to voters with specific information about registering to vote in their state. For many of

our members and constituents, the most accessible option for registering to vote is the National

Mail Voter Registration Form, commonly referred to as the “Federal Form.” This form streamlines

the voter registration process and does not require voters to gather or submit any additional




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documentation in order to be successfully registered to vote.

       17.     Existing law already makes it illegal for foreign nationals to register and vote in our

elections, and our existing law prevents non-citizens from voting. And there is zero evidence of

widespread voting by non-citizens in U.S. elections. President Trump’s unnecessary imposition of

a documentary proof of citizenship requirement will make it significantly harder for DSCC’s

members and constituents—qualified U.S. citizens—to register and remain registered to vote.

       18.     Millions of American citizens, including many of DSCC’s members and

constituents, lack qualifying proof of citizenship documents, and as a result, will be unable to

register to vote using the Federal Form under the new burdensome restrictions imposed by the

President’s EO. DSCC’s many lower-income members and constituents who do not travel out of

the country may lack qualifying citizenship documents—like a passport—or the ability to easily

obtain them. President Trump’s proof of citizenship requirement also singles out recipients of

public assistance for additional citizenship assessments before even receiving a Federal Form.

Additionally, a majority of DSCC’s members and constituents are women, many of whom have

changed their last name upon marriage, such that their legal name does not match their citizenship

documents. It will therefore be more difficult for married women to provide documentary proof of

citizenship to register to vote under the EO, as well.

       19.     This issue is personal to me, as my passport currently lists my maiden name, even

though I legally changed my last name when I got married and am registered to vote in my married

name. I do not have any of the other documents listed in President Trump’s Order to provide as

proof of citizenship. While I plan to update my passport as soon as possible, I can personally

appreciate the burdens this requirement places on women like me—and more importantly, women

with fewer time and resources available to obtain a new passport.




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       20.     To counteract the burdens the documentary proof of citizenship requirement

imposes on DSCC’s members and constituents, DSCC will be forced to divert resources away

from other critical priorities to aid voters attempting to comply or complete a different means of

registering. For example, DSCC will have to work with coordinated campaigns to conduct a

nationwide voter education campaign to ensure eligible voters are aware that all new registrants

must provide qualifying proof of citizenship when registering with the Federal Form. DSCC will

also need to work with coordinated campaigns to engage in direct outreach to eligible voters to

inform them that only certain documents qualify as proof of citizenship under President Trump’s

order, and assist them in obtaining such documents if they do not already have them.

Communicating these radical changes to millions of voters will be no small feat. This work will

need to begin now, given the extensive time, resources, and infrastructure needed to build these

programs in time for them to be effective before the midterm elections.

       21.     Because DSCC’s resources are limited, these efforts will necessarily come at the

cost of other critical planned expenditures in the months leading up to the upcoming elections. For

example, DSCC allocates a significant portion of its budget on digital and television

advertisements. But because DSCC will be forced to spend money educating voters on new voter

registration requirements as a result of the President’s EO, it will have fewer funds available to

run the full suite of advertisements it has planned to place online and on TV. This will significantly

harm DSCC and Democratic Senate candidates because traditional media remains the most

effective way to get candidates’ messaging out to voters.

       22.     DSCC’s voter registration efforts will be further upended by President Trump’s

order granting third parties—including DOGE—unauthorized access to federal systems and

databases containing the personal information of DSCC members and constituents. These




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unauthorized disclosures will subject DSCC’s members and constituents to unlawful investigation

and possible removal from the voter rolls based on false suspicion of not being U.S. citizens. In

turn, it will be harder for DSCC to register new voters who reasonably fear that their personal

identifying information will be disclosed to third parties.

       23.     Some of our members and constituents are extremely concerned about protecting

their private information and mistrust DOGE. They will therefore be worried about disclosing

information that could be accessed by DOGE, so much so that they may be willing to forgo

registering and exercising their right to vote to ensure that their information is protected. That

means that DSCC will need to initiate a program to persuade voters to register in light of these

privacy concerns.

       24.     Additionally, granting such unauthorized disclosures will put DSCC’s members

and constituents at risk of being wrongly removed from the voter rolls. DSCC will therefore need

to conduct outreach to remind voters to check their registrations and aid voters through the process

of restoring their registrations—including by complying with the new documentary proof of

citizenship requirements—if they have been wrongly removed.

       25.     The Order’s ballot receipt deadline, proof of citizenship requirement, and

unauthorized data-sharing provisions will impose imminent, irreparable harm on DSCC. As

explained above, DSCC will need to redirect significant amounts of its limited resources to thwart

the harmful effects of these massive changes to voting and election rules. Decisions to adjust the

budget must begin now, and once those resources are diverted toward unplanned programming,

they cannot be used to persuade voters to elect Democratic candidates, a drain on resources that

will have the effect of directly undermining DSCC’s mission.

       26.     This puts DSCC at a competitive disadvantage. In the last several election cycles,




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Democrats have become more likely to vote by mail. Because of demographics, Democrats are

disproportionately likely to lack qualifying proof of citizenship and to be wrongly suspected of not

being a citizen. By dictating these new rules for federal elections, President Trump is therefore

making it more difficult for DSCC’s members and constituents to vote in elections, and for the

candidates that DSCC supports to compete. And when fewer Democrats hold elected office, DSCC

raises (and therefore spends) less money, inflicting further harm on our organization and limiting

our ability to increase our resources to counteract the effects of these new requirements.



       I declare under penalty of perjury that the foregoing is true and correct.
                                                            
                                              Executed on: _______________________________



                                              __________________________________________
                                              Lillie Snyder Boss, Chief Operating Officer
                                              DSCC




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